






Opinion issued February 19, 2009









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00961-CV

____________


ROY SINGH, Appellant


V.


K. HOVNANIAN, ET AL., Appellee






On Appeal from the County Civil Court at Law No. 2

Harris County, Texas

Trial Court Cause No. 905073






MEMORANDUM  OPINION

	Appellant Roy Singh has filed a motion to dismiss his appeal.  More than 10
days have elapsed, and no objection has been filed.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Hanks.


